               Case 2:21-mj-30492-DUTY ECF No. 1, PageID.1
                                            AUSA:             Filed 10/19/21 Telephone:
                                                    Michael Taylor             Page 1 of   6 226-9516
                                                                                        (313)
AO 91 (Rev. 11/11) Criminal Complaint            Task Force Officer:     Raylan Hill, A.T.F.              Telephone: (313) 202-3450

                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District of Michigan
                                                                                       Case: 2:21−mj−30492
United States of America
   v.                                                                                  Assigned To : Unassigned
Antonio Capozzoli                                                                      Assign. Date : 10/19/2021
                                                                          Case No.
                                                                                       Description: RE: SEALED MATTER
                                                                                       (EOB)




                                                  CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

    On or about the date(s) of                    September 2, 2021                in the county of ____W_a_yn.__e___ in the
  Eastern
-------         District of                Michigan       , the defendant(s) violated:
                Code Section                                            Offense Description
18 U.S.C. § 922(g)(l)                                 Felon in possession of a Firearm




          This criminal complaint is based on these facts:




IZil   Continued on the attached sheet.
                                                                                           Complainant's signature

                                                                       Task Force Agent Raylan Hill, A.T.F.
                                                                                               Printed name and title
Sworn to before me and signed in my presence
and/or by reliable electronic means.

Date: October 19, 2021                                                                           Judge's signature

City and state: Detroit, Michigan                                      Hon. David R. Grand, U.S. Magistrate Judge
                                                                                               Printed name and title
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     AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

     I, Task Force Officer Raylan Hill, being first duly sworn, hereby

depose and state as follows:

                        I.     INTRODUCTION

            I have been employed as a Task Force with the Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF) since July of 2020. I

am an “investigative or law enforcement officer of the United States”

within the meaning of Title 18, United States Code, Section 2510(7),

and I am empowered by law to conduct investigations and make arrests

of offenses enumerated under federal law.

           I have had extensive training with the Detroit Police

Department (DPD) where I have been a Police Officer since 2017.

During my time at ATF, I have authored arrest warrants on the state

level and have executed numerous search warrants and participated in

undercover deals in a surveillance capacity.

           During my employment with ATF, I have participated in

numerous criminal investigations focused on firearms, armed drug

tracking violations, and criminal street gangs. I have utilized a variety

of investigative techniques and resources, including physical and




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electronic surveillance, various types of informants, and cooperating

sources.

             I have personal knowledge or have been provided by other

law enforcement officers with the facts set forth herein. I have not

included each and every fact known to me concerning this investigation;

rather I have set forth only the facts necessary to establish probable

cause that Antonio CAPOZZOLI violated Title 18 USC 922(g)(1) felon in

possession of a firearm.

                           II.   BACKGROUND

             During the first week of September, 2021, ATF and the

Detroit Police Department investigated Antonio CAPOZOLLI

(XX/XX/92) for violations of federal firearm laws.

             I reviewed a Computerized Criminal History (CCH) of

CAPOZOLLI and determined that CAPOZOLLI has been convicted of

the following felony offenses:

           x 2014 - Controlled Substance – Possess (Cocaine, Heroin, or

             Another Narcotic) Less than 25 Grams

           x 2015 - Controlled Substance – Delivery/Manufacture

             (Cocaine, Heroin, or Another Narcotic) Less than 50 Grams




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          x 2015 - Controlled Substance – Possess (Cocaine, Heroin, or

             Another Narcotic) Less than 25 Grams

     7.      There is probable cause that on September 2, 2021,

CAPOZZOLI knew he had been convicted of an offense punishable by

more than one year of imprisonment because he was previously

sentenced to 18 months to 5 years in prison for his 2015 – Controlled

Substance - Delivery/Manufacture conviction.

                     III.   PROBABLE CAUSE

     8.      On September 2, 2021, at approximately 10:44pm, DPD

Officers were on patrol traveling eastbound on 8 Mile Road from

Gratiot. Officers observed CAPOZZOLI standing on the sidewalk near

the bus stop on the south side of 8 Mile Road. Officer Van Sickle

observed a handgun grip protruding from CAPOZZOLI`s waistband.

Officer Macdonald asked CAPOZZOLI if he had a concealed pistol

license (CPL) and CAPOZZOLI stated “no.” Officers then arrested

CAPOZZOLI for carrying a concealed weapon.

     9.      During the arrest, officers seized a black Taurus G2GC,

9mm pistol loaded with 12 rounds of ammunition from CAPOZZOLI’s

waistband.




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      10. While in the back of the police vehicle, without being

questioned, CAPOZZOLI stated he has been to prison and is a felon.

CAPOZZOLI stated that due to his felony record, he cannot get a gun in

his name and that he had his girl get it and borrowed the firearm from

her because he was “out there on the streets.”

     11.    ATF Special Agent Mark Davis, an expert in the interstate

nexus of firearms, was advised of the seizure of the Taurus G2GC 9mm

pistol. SA Davis’s determined that the Taurus G2GC 9mm pistol is a

firearm as defined under 18 U.S.C. § 921 and was manufactured outside

the state of Michigan and therefore traveled in and affected interstate

commerce.

                        IV.   CONCLUSION

     12.    Based on the above facts, probable cause exists that

CAPOZZOLI, a previously convicted felon, knowing that he was

previously convicted of an offense punishable by more than one year of

imprisonment, knowingly possessed a firearm that had travelled in or

affected interstate commerce, in violation of 18 U.S.C. § 922(g)(1).




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                                   Respectfully submitted,



                                      ______________
                                   __________________________
                                      ylan Hill
                                   Raylan
                                   Task Force Officer
                                   Bureau of Alcohol, Tobacco,
                                   Firearms and Explosives



Sworn to before me and signed in my presence
and/or by reliable electronic means.


_________________________________
Hon. David R. Grand
United States Magistrate Judge
October 19, 2021




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